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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA

  CLINTON BROWN,                               CASE NO. 2:22-cv-09203-MEMF-KS
               Plaintiff,                      Motion for Stay Pending
        vs.                                    Interlocutory Appeal [No. 23-4131]
  CLARK R. TAYLOR, AICP, THE                   Judge: Honorable Maame Ewusi-
  LOS ANGELES COUNTY                           Mensah Frimpong
  DEPARTMENT OF REGIONAL                       Magistrate: Karen L. Stevenson
  PLANNING,                                    Hearing Date: 02/01/2024
               Defendant.                      Time: 10:00 A.M.
                                               Place: Courtroom 8B

         MOTION FOR STAY PENDING INTERLOCUTORY APPEAL
  NOTICE TO THE COURT, pursuant to FRAP Rule 8(a)(1), the moving party must
  ordinarily move first to ask the District Court for a stay or injunction pending appeal.
  See https://perma.cc/FU9K-J66R at 47 (effective December 1, 2023). The filing of a
  notice of appeal is an event of jurisdictional significance [and] it confers jurisdiction
  on the Court of Appeals and divests the District Court of its control over those
  aspects of the case involved in the appeal. See Griggs v. Provident Consumer Disc.
  Co., 459 U.S. 56, 58 (1982). (per curiam) Cf. Griggs at 62 n.1 (1982) (Marshall, J.,
  dissenting). At least absent contrary indications, the background Griggs principle
  already requires an automatic stay of District Court proceedings that relate to any
  aspect of the case involved in the appeal. See Coinbase, Inc. v. Bielski, 599 U.S. at
  744 (2023) Cf. Coinbase at 761 (2023) (Jackson, J., dissenting) (discussing
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  preliminary injunctions); Campbell v. Blodgett, 982 F.2d 1356, 1357 (9th Cir.
  1993) (District Court retains jurisdiction to issue discovery order); ECF No. 112. See
  also Masalosalo v. Stonewall Ins. Co., 718 F.2d 955, 957 (9th Cir. 1983) (District
  Court retains jurisdiction to award fees); ECF No. 113. While the power of a Court
  of Appeals to stay proceedings in the District Court during the pendency of an appeal
  is not explicitly conferred by statute, it exists by virtue in 28 U.S.C. §1651. See All
  Writs Act, Judiciary Act of 1789, § 14, 1 Stat. 73, 81-82 (1789); Evarts Act, Judiciary
  Act of 1891, § 7, 26 Stat. 828 (1891).
                                      Legal Standard
        To have standing, a plaintiff must assert a violation of his rights. See Lujan v.
  Defenders of Wildlife, 504 U. S. 555, 563 (1992). [T]he party seeking review [must]
  be himself among the injured. Afterall, “[t]he province of the Court is, solely, to
  decide on the rights of individuals.” See Marbury v. Madison, 1 Cranch 137, 170
  (1803). It is not to address a plaintiff ’s claim of “only harm to his and every citizen’s
  interest in proper application of the...laws.” Lujan, 504 U. S., at 573. See Acheson
  Hotels, LLC v. Laufer, No. 22–429, slip op. at 11 (U.S. Dec. 5, 2023) (Thomas, J.
  concurring).
        The doctrine of mootness stems from Article III of the Constitution, which
  permits Federal courts to adjudicate only “Cases” and “Controversies.” Simply
  stated, a case is moot when the issues presented are no longer ‘live’ or the parties
  lack a legally cognizable interest in the outcome. See Acheson Hotels, LLC v. Laufer,
  No. 22–429, slip op. at 15 (U.S. Dec. 5, 2023) (citing Powell v. McCormack, 395 U.
  S. 486, 496 (1969) (Jackson, J. concurring). In United States v. Munsingwear, Inc.,
  340 U. S. 36 (1950), the Federal Government, as plaintiff, had brought both an
  injunctive claim and a damages claim; it lost the injunctive claim first and was
  unable to appeal that lower court determination because of intervening mootness.
  Id., at 37. The unappealable lower court judgment with respect to the injunctive
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  claim then precluded the Government from litigating the merits of its damages claim.
  This Court noted that a vacatur request had been available to the Government to
  avert this unfairness, but that the Government had “slept on its rights” in failing to
  seek that particular remedy. Id., at 40–41. Supra slip op. at 19 n. 2.
        The term "Federal common law," although it has eluded precise definition…
  is court-made law that is neither Constitutional nor statutory. See Erwin
  Chemerinsky, Federal Jurisdiction 349 (3d ed. 1999) (defining Federal common law
  as "the development of legally binding Federal law by the Federal courts in the
  absence of directly controlling Constitutional or statutory provisions"); Martha
  Field, Sources of Law: The Scope of Federal Common Law, 99 Harv. L. Rev. 881,
  890 (1986) (defining Federal common law as "any rule of Federal law created by a
  court…when the substance of that rule is not clearly suggested by Federal
  enactments; Constitutional or Congressional.” See United States v. Enas, 255 F.3d
  662, 675-676 (9th Cir. 2001). Federal common law allows Congress to have the last
  word in non-diversity cases and controversies. Cf. Erie Doctrine.
        A plaintiff is not required to prove its entitlement to summary judgment to
  establish a substantial likelihood of success on the merits for preliminary injunction
  purposes. See Byrum v. Landreth, 566 F.3d 442, 447 (5th Cir. 2009) The denial of a
  preliminary injunction motion is an appealable interlocutory order, 28 U.S.C.
  §1292(a)(1), but the denial of a summary judgment motion is not. Id.
                                       Discussion
        In considering whether to stay a proceeding, a Court must weigh competing
  interests and maintain an even balance. See Landis v. N. Am. Co., 299 U.S. 248,
  254–55 (1936). In Coinbase, Inc. v. Bielski, 599 U.S. 736, 739–44 (2023), the
  Supreme Court applied the Griggs principle to an interlocutory appeal of the denial
  of a motion to compel arbitration, holding that any further proceedings before the
  District Court must automatically be stayed. The Court reasoned that because
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  “whether the litigation may go forward in the District Court is precisely what the
  Court of Appeals must decide. . . it makes no sense for trial to go forward while the
  Court of Appeals cogitates on whether there should be one.” Id. at 741. Even if the
  Plaintiff’s interlocutory appeal was discretionary pursuant to 28 U.S.C. § 1292(b),
  the Court should issue a stay on the motion for summary judgment, so that mootness
  would not result. An appeal is taken in “good faith” where it seeks review of any
  issue that is “non-frivolous.” See Hooker v. American Airlines, 302 F.3d 1091, 1092
  (9th Cir. 2002). The “good faith” standard is an objective one. See Coppedge v.
  United States, 369 U.S. 438, 444-45 (1962). When a District Court denies a
  preliminary injunction because there is no likelihood of success on the merits, the
  Appellate Court reviews its decision de novo. See Inland Empire Pub. Lands Council
  v. Schultz, 992 F.2d 977, 980 (9th Cir. 1993). Counsel…have a continuing duty to
  inform the Court of any development which may conceivably affect the outcome of
  the litigation…without delay. See Bd. of License Comm'rs v. Pastore, 469 U.S. 238,
  105 S. Ct. 685 (1985) (per curium) See also United States v. Alaska S. S. Co., 253
  U.S. 113, 116 (1920); ECF No. 58 (i.e. Tyler test).1
         Although the controversy is on interlocutory appeal to the United States Court
  of Appeals for the Ninth Circuit, it is within the Court’s ancillary jurisdiction to
  schedule a trial date, so that the Court and parties may make appropriate plans. See
  United States v. Jefferson No. 07-cr-209, Minute Entry, ECF No. 200 (E.D. Va. June
  13, 2008) (determining it was “appropriate as a matter of prudence” during
  interlocutory appeal “to schedule a trial date so that the Court and parties may make
  appropriate plans”). See Rule 40. In any event, the Court has already issued the

  1
    Knick did not overrule any of the prior precedents except the Williamson County’s ripeness res
  judicata, as this Court rightly noted, and therefore the state-litigation requirement in an inverse
  condemnation case. [Brown] has stated a claim under the Takings Clause and is entitled to Just
  Compensation. See Tyler v. Hennepin County, Minn., 598 U.S. 631, 639 (2023); Bell Atlantic
  Corp. v. Twombly (2007) & Ashcroft v. Iqbal (2009) (“Twombly/Iqbal”). Ball or Strike?
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  denial of the MTC after the filing of the notice of appeal. See ECF No. 108 & 112.
  The Plaintiff has requested fees consistent with motion practice when one party is
  denied a MTC, and the other party had to oppose that motion. See ECF No. 113;
  Rule 37(a)(5)(B). In other words, the loser pays. The Court has ancillary jurisdiction
  to make a call, or the Court didn’t have ancillary jurisdiction to issue the MTC denial.
  It really cannot be both ways.
                                           Conclusion
         The Court should for the foregoing reasons issue a stay pending appeal since
  the denial of the preliminary injunction and the motion for summary judgment are
  requesting the same relief. The Court’s denial of the preliminary injunction did not
  balance all factors in the Winter’s test or the Serious Questions test and thus it is
  necessary for appellate review.2 See ECF No. 116.
  THEREFORE, to avoid the duplication of proceedings, mootness or procedural
  confusion that will prejudice all parties in this controversy, the Court is asked to stay
  proceedings pending the appeal in the Ninth Circuit, AND, to schedule a trial date
  so that the Court and parties may make appropriate plans.




  This motion is made following the conference of Counsel pursuant to L.R. 7-3
  which took place on 12/22/2023.

  “I declare (or certify, verify, or state) under penalty of perjury under the laws of the
  United States of America that the foregoing is true and correct.”



  Clinton Brown                                                    12/25/2023

  2
   The County may not put so potent a Hobbesian stick into the Lockean bundle of property rights,
  such as, to force a man to preserve his natural rights by breaking the law. (Citations omitted).
